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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                        FT. LAUDERDALE DIVSION
 ------------------------------------------------------------------------x
  Amir Ohayon                                                              Civil Action No:
                                                                           0:20-cv-62664
                                                    Plaintiff,




         -v.-

  JP Morgan Chase Bank, N.A.



                                        Defendant(s).

                            JOINT STIPULATION OF DISMISSAL

        IT IS HEREBY STIPULATED AND AGREED by and between the undersigned counsel

 for the Plaintiff, and Defendant, JP Morgan Chase Bank, N.A in the above captioned action, that

 whereas no party hereto is an infant, incompetent person for whom a committee has been appointed

 or conservatee, and no person not a party has an interest in the subject matter of the action, that

 this action is dismissed with prejudice and without costs to either party pursuant to Rule

 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure.

 Dated: September 22, 2021

  For Plaintiff Amir Ohayon                           For Defendant JP Morgan Chase Bank,
                                                      N.A.
  /s/ Justin Zeig                                     /s/ Alisa M. Taormina
  Justin Zeig, Esq.                                   Alisa M. Taormina
  Zeig Law Firm, LLC                                  Stroock & Stroock & Lavan LLP
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                                 CERTIFICATE OF SERVICE

        I certify that on September 22, 2021, a copy of the foregoing was filed electronically in the

 ECF system. Notice of this filing will be sent to the parties of record by operation of the Court’s

 electronic filing system. Parties may access this filing through the Court’s system.

                                               /s/ Justin Zeig
                                               Justin Zeig
                                               Zeig Law Firm, LLC
                                               3475 Sheridan Street, Ste 310
                                               Hollywood, FL 33021
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                                               Attorneys for Plaintiff




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